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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN

AMERICAN INCOME LIFE                        )
INSURANCE COMPANY,                          )     Misc. Action No.:
                                            )
          Petitioner,                       )     Hon.:
                                            )
v.                                          )
                                            )
FFL ONYX, LLC                               )
                                            )
          Respondent.                       )


     PETITIONER AMERICAN INCOME LIFE INSURANCE COMPANY’S
        PETITION TO ENFORCE COMPLIANCE WITH AMERICAN
        ARBITRATION ASSOCIATION SUBPOENA DUCES TECUM

          Petitioner American Income Life Insurance Company (“AIL”), by and

through its attorneys, petitions this Court to compel Respondent FFL Onyx, LLC

(“FFL Onyx”) to comply with the Subpoena Duces Tecum (“Subpoena”) issued by

Arbitrator Donald Gasiorek in AIL’s arbitration proceeding against Carl Gretz and

Valentino Kalaj (“Arbitration”), pursuant to 9 U.S.C. § 7.

     I.        Parties

          1.      Petitioner AIL is a leading provider of life, accident, and supplemental

health insurance in the United States, Canada, and New Zealand.                   AIL is

incorporated in Indiana with a principal place of business in Waco, Texas.

          2.      Respondent FFL Onyx is a limited liability company organized in

Florida, whose members are Valentino Kalaj and Elton Yaldo. Mr. Kalaj and Mr.
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Yaldo, who upon information and belief are the sole members of FFL Onyx, are

residents and citizens of Michigan. FFL Onyx conducts business in Michigan and

has a principal office in Farmington Hills, Michigan. FFL Onyx has filed documents

with the Florida Secretary of State designating Mr. Kalaj and Mr. Yaldo as its

authorized members and designating its principal address as 34119 West 12 Mile

Road, Suite 206, Farmington Hills, Michigan, 48331.

     II.      Jurisdiction and Venue

        3.    This Court has subject matter jurisdiction over this matter pursuant to

28 U.S.C. § 1332 because complete diversity exists between AIL (a citizen of

Indiana and Texas) and FFL Onyx (a citizen of Michigan), and the amount in

controversy in the Arbitration and the benefit to AIL that would result from

enforcement of the Subpoena exceeds $75,000, exclusive of interest, fees, and costs.1

        4.    In addition and in the alternative, this Court has subject matter

jurisdiction over this case pursuant to 28 U.S.C. § 1331 because the underlying

claims in the Arbitration arise, in part, under the federal Misappropriation of Trade

Secrets Act, 18 U.S.C. § 1836.




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  When analyzing diversity under a Section 7 petition, courts look at the diversity of
the parties to the petition. Generation Mobile Preferred, LLC v. Roye Holdings, LLC,
2021 WL 6882442, at *3-5 (E.D. Mich. Oct. 29, 2021), report and recommendation
adopted, 2022 WL 252176 (E.D. Mich. Jan. 26, 2022).

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       5.     FFL Onyx is subject to personal jurisdiction in the Eastern District of

Michigan because FFL Onyx carries on a continuous and systematic part of its

general business within the Eastern District of Michigan, and has its principal

address in this District, and its members reside in this District.

       6.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because FFL

Onyx resides in the Eastern District of Michigan, and a substantial part of the events

or omissions giving rise to the claims alleged herein occurred within the Eastern

District of Michigan.

       7.     The Arbitration matter is pending with the American Arbitration

Association (“AAA”) in this District, AAA Case No. 01-23-0002-6899, and the

Arbitrator is sitting in this District.

   III.       Petition to Enforce Subpoena

       8.     In June 2023, AIL filed Demands for Arbitration against Carl Gretz and

Valentino    Kalaj    seeking     monetary       damages   and   injunctive   relief   for

misappropriation of AIL’s confidential information and trade secrets and breaches

of their contracts with AIL.

       9.     AIL’s claims against Gretz and Kalaj have been consolidated into one

action under Arbitrator Donald Gasiorek (P24987).




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      10.    Arbitrator Gasiorek is an attorney located in Farmington Hills, MI:

Gasiorek Morgan, 30500 Northwestern Highway, Suite 425, Farmington Hills, MI

48334.

      11.    On or about November 8, 2023, Arbitrator Gasiorek issued the

Subpoena to FFL Onyx, a non-party to the Arbitration, pursuant to his authority

under 9 U.S.C. § 7. See Exhibit A, Subpoena to Produce Documents.

      12.    AIL reasonably believes that FFL Onyx has documents and information

relevant to the claims and issues in the Arbitration. Mr. Kalaj, a Respondent in the

Arbitration, is a member of FFL Onyx. FFL Onyx and Mr. Yaldo, its other member,

are associated with Arbitration Respondent Mr. Kalaj and have done business with

him in connection with his misappropriation of AIL’s confidential information and

trade secrets and breaches of his contracts with AIL which are the subject of the

allegations in the Arbitration.

      13.    On November 10, 2023, ZenBusiness, Inc., the registered agent for FFL

Onyx, was properly served with the Subpoena in Florida. See Exhibit B, Verified

Return of Service.

      14.    As of the date of this filing, FFL Onyx has not provided any response

and has not produced any documents in response to the Subpoena. Nor has FFL

Onyx asserted any objections to the Subpoena. Rather, FFL Onyx has simply ignored

the duly issued Subpoena.



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      15.    FFL Onyx is therefore in default and AIL brings this Petition asking

this Court to compel FFL Onyx to comply with the Subpoena.

      16.    Under the Federal Arbitration Act, the Arbitrator has authority to issue

a summons and subpoena to compel any person to produce documents, and if any

person “shall refuse or neglect to obey said summons, upon petition the United States

district court for the district in which such arbitrators, or a majority of them, are

sitting may compel the attendance of such person or persons before said arbitrator

or arbitrators, or punish said person or persons for contempt in the same manner

provided by law for securing the attendance of witnesses or their punishment for

neglect or refusal to attend in the courts of the United States.” 9 U.S.C. § 7.

      17.    As outlined above, Arbitrator Gasiorek is “sitting” in Farmington Hills,

MI – within the United States District Court for the Eastern District of Michigan –

where the Arbitration is located, per the arbitration agreement.

      18.    As such, AIL seeks an Order compelling FFL Onyx to comply with the

Subpoena.

      WHEREFORE, AIL respectfully requests that the Court enter an Order

compelling FFL Onyx to comply with the Subpoena, to produce the requested

documents, and that AIL be awarded its costs and attorney’s fees incurred in

connection with this motion, and such other relief as is just and proper.




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                                  Respectfully submitted,

                                  THE MILLER LAW FIRM P.C.

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Dated: December 27, 2023




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